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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:05CR116
                                             )
              Plaintiff,                     )
                                             )
              vs.                            )              TENTATIVE FINDINGS
                                             )
ROBERT McFARLAND,                            )
                                             )
              Defendant.                     )

       The Court has received the Revised Presentence Investigation Report (“Revised

PSR”) and the Defendant‘s objections thereto (Filing No. 95). The government has

adopted the PSR. (Filing No. 90.) See Order on Sentencing Schedule, ¶ 6. The Court

advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the sentencing

guidelines are advisory.

       The Defendant objects to ¶ 71, arguing that placement in criminal history category

over represents the Defendant’s criminal history. This argument, although posed as an

objection, should be raised and will be considered as a motion for downward departure

pursuant to U.S.S.G. § 4A1.3. The Court notes the Defendant’s lengthy criminal history

and contacts with law enforcement beginning at age 9 and continuing steadily throughout

his juvenile and adult years. culminating with the instant offense. The motion for downward

departure is denied.

       IT IS ORDERED:

       1.     The Defendant’s Objection to the Revised PSR, considered as a motion for

downward departure, (Filing No. 95) is denied;
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       2.      Otherwise the Court’s tentative findings are that the Revised PSR is correct

in all respects;

       3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.      Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.      Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 20th day of October, 2005.

                                          BY THE COURT:

                                          s/Laurie Smith Camp
                                          United States District Judge




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